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United States Department of Justice
Office of the United States Trustee
1100 Commerce St. Room 976
Dallas, Texas 75242
(214) 767-8967

Lisa L. Lambert
Tx Bar. No. 11844250 (also NY)
for the United States Trustee

                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION


                                                        Chapter 11
 In re:
                                                        Case No. 21-30085-hdh11
 NATIONAL RIFLE ASSOCIATION OF                          Jointly Administered
 AMERICA and SEA GIRT LLC                               Hearing Date: 2/24/2021
 Debtors.                                               Hearing Time: 2:00 p.m.



     U.S. TRUSTEE’S WITNESS AND EXHIBIT LIST IN CONNECTION WITH
   OBJECTION TO MMP’S MOTION FOR AN ORDER REQUIRING THE UNITED
    STATES TRUSTEE TO RECONSTITUTE THE OFFICIAL COMMITTEE OF
             UNSECURED CREDITORS (EMERGENCY SETTING)

TO THE HONORABLE HARLIN D. HALE,
UNITED STATES BANKRUPTCY JUDGE:

    The United States Trustee for Region 6 files this witness and exhibit list in connection with

the emergency hearing on the Motion to Reconstitute the Official Committee of Unsecured

Creditors filed by Membership Marketing Partners, LLC (“MMP” or “Movant”) (Dkt. No. 164).

                                           WITNESSES

    Any witness listed on any other party’s list.
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                                               EXHIBITS

Exhibit Identification                                                   Exhibit        Offer   Admit
Amended List of 20 Largest Creditors                                       A
DellAquilla, etal, v. NRA – Second Amended Complaint                       B
DellAquilla, etal v. NRA -- Opinion on Motion to Dismiss                   C


The United States Trustee reserves the right to use any exhibit listed on another party’s list.

   DATED: February 23, 2021                             Respectfully submitted,

                                                        WILLIAM T. NEARY
                                                        UNITED STATES TRUSTEE

                                                        /s/ Lisa L. Lambert
                                                        Lisa L. Lambert
                                                        Assistant U.S. Trustee
                                                        TX 11844250 (also NY)
                                                        Office of the United States Trustee
                                                        1100 Commerce Street, Room 976
                                                        Dallas, Texas 75242
                                                        (202) 834-4233
                                                        Lisa.L.Lambert@usdoj.gov


                                         Certificate of Service

       I certify that on February 23, 2021, I served a true copy of this document by electronic
       case filing notice on those requesting ECF notice and by email as listed below:

       By email to:
       Judith W. Ross
       Ross & Smith, PC
       700 North Pearl St., Suite 1610
       Dallas, TX 75201
       Judith.Ross@judithwross.com

       By email to:
       Patrick J. Neligan, Jr.
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       pneligan@neliganlaw.com
                                                                  /s/ Lisa L. Lambert
                                                                  Lisa L. Lambert


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